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     Attorney for Defendant MIN SUNG KIM
 5
 6                               IN THE UNITED STATES DISTRICT COURT
 7         FOR THE NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO VENUE
 8
 9   UNITED STATES OF AMERICA,                                     )     NO. CR-05-00447-CRB
                                                                   )
10                  Plaintiff,                                     )
                                                                   )     {PROPOSED] ORDER TO AMEND
11   vs.                                                           )     CONDITIONS OF RELEASE
                                                                   )     RE: TRAVEL RESTRICTION
12   MIN SUNG KIM,                                                 )
                                                                   )
13                  Defendant.                                     )
                                                                   )
14                                                                 )
                                                                   )
15                                                                 )
                                                                   )
16
17          FOR GOOD CAUSE HAVING BEEN SHOWN, AND BASED ON THE
18   CONCURRENCE OF THE GOVERNMENT AND THE UNITED STATES PRETRIAL
19   SERVICES, the travel restrictions imposed by the defendant’s release bond may be lifted for the
20   dates November 4-6, 2005, so that the defendant may visit her father in Los Angeles, California.
21   The defendant will travel by car from her home in San Jose, leaving no earlier than 6:00 a.m. on
22   November 4, 2005. While in Los Angeles, she will stay with her parents at 2600 West 8th Street,
23   #202, Los Angeles, CA 90057 (telephone number 213-284-8054). She will return home on
24   November 6, 2005, arriving no later than 11:00 p.m. All other conditions of release are to remain
25   in effect unless, and until, further Order of this Court is made.
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26   DATED: November 03 , 2005                             TA
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                                            CHARLES R.     BREYER
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28                                          United States District Judge
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